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STATE OF MINNESOTA                                                        DISTRICT COURT

COUNTY OF RAMSEY                                             SECOND JUDICIAL DISTRICT

                                                               CASE TYPE: Products Liability

 Keenen Benjamin, Mike Boquist, David
 Caudill, Justin Chapman, Scott Chiasson, Jon
 Deacon, Jonathan Edwards, Peter Evans,
 Adam Faizi, Norman Francis, Zackery Gates,                      SUMMONS
 Kevan Groves, Joe Grubb, Matthew Hall,
 Brian Harmon, Nathaniel Harris, Matthew
 Hart, James Haulton, Ronnie Heckstall,
 William Howell, Anthony Johnson, Terry                     Jury Trial Demanded
 Kemp, Angela King, Tony Minyo, Raymond
 Morillo, Oliver 011ar, Joshua Owens, Everett
 Ozenne, William Parchim, Rickey Parsons,
 Jason Pessa, Billy Pharris, Luis Ramirez,
 Jeffery Reece, Jeffrey Robbins, Jeremy
 Shaulis, Hubert Somohano, Jackie Thompson,
 James Trussell, Trumaine Turner, Anthony
 Uzzetta, Delio Vidal, William Walker, Patrick
 Walker, Andrew Way, Kyle White, Brandon
 Wiederhold, Damian Williams Sherrod,
 Jeremiah Wolfe, and Robei-t Young,

        Plaintiffs,


 V.

 k3M COMPANY,and
 AEARO TECHNOLOGIES LLC,

        Defendants.



TO: THE STATE OF MINNESOTA AND THE ABOVE-NAMED DEFENDANTS:

        1.     YOU ARE BEING SUED. The plaintiffs have started a lawsuit against you. The
plaintiffs' Complaint against you is attached to this Summons. Do not throw these papers away.
They are official papers that affect your rights. You must respond to this lawsuit even though it
may not yet be filed with the Court and there may be no Court file number on this Summons.
        2.     YOU MUST REPLY WITHIN TWENTY (20) DAYS TO PROTECT YOUR
RIGHTS. You must give or mail to the person who signed this Summons a written response
      CASE 0:19-cv-02170-JNE-SER Doc. 1-1 Filed 08/08/19 Page 2 of 53




        2.     YOU MUST REPLY WITHIN TWENTY (20) DAYS TO PROTECT YOUR
RIGHTS. You inust give or mail to the person who signed this Summons a written i•esponse
called aii Answer within twenty (20) days of the date on which you received this Summons. You
must send a copy of your Answer to the person who signed this Summons located at Joluison
Becker, PLLC, 444 Cedar Street, Suite 1800, Saint Paul, Minnesota 55101.

       3.       YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
response to the plaintiffs' Complaint. In your Answer you must state whether you agree or disagree
with eacli paragraph of the Coniplaint. If you believe the plaintiffs should not be given everything
asked for in the Complaint, you must say so in your Answer.

         4.     YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS SUMMONS.
If you do not Answer within twenty (20) days, you will lose this case. You will not get to tell your
side of the story, and the Court may decide against you and award the plaintiffs everything asked
for in the Complaint. If you do not want to contest the claims stated in the Complaint, you do not
need to respond. A default judgment can then be entered against you for the relief requested in the
Complaint.

        5.      LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do
not have a lawyer, the Cotrrt Administrator may have information about places where you can get
legal assistance. Even if you cannot get legal help, you must still provide a written Answer to
protect your rights or you may lose the case.

       6.       ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the Minnesota
General Rules of Practice. You must still send your written response to the Complaint even if you
expect to use alteinative means of resolving this dispute.


 Dated: July 25, 2019                         JOHNSON BECKER, PLLC



                                              Stacy FI-a (# 31 093)
                                              444 Cedar Street, Suite 1800
                                              St. Paul,1VIN 55101
                                              Tel.: (612) 436-1800
                                              Fax: (612) 436-1801
                                              shaLier@johnsonbeeker.com
                                                        johnsonbecker.com
CASE 0:19-cv-02170-JNE-SER Doc. 1-1 Filed 08/08/19 Page 3 of 53




                            Raymond C. Silverman (Pro Hac Vice
                            Anticipatec)
                            Melanie H. Muhlstock (Pro Hac Vice Anticipatec)
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                            mmuhlstock@yourlawyer.com

                            Attorneys for Plaintiff
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STATE OF MINNESOTA                                                          DISTRICT COURT

COUNTY OF RAMSEY                                              SECOND JUDICIAL DISTRICT

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General Rules of Practice. You must still send your written response to the Complaint even if you
expect to use alternative means of resolving this dispute.


 Dated: July 25, 2019                         JOHNSON BECKER, PLLC

                                                                         A

                                              Stacy -a     (# 31 093)
                                              444 Cedar Street, Suite 1800
                                              St. Paul, MN 55101
                                              Tel.: (612) 436-1800
                                              FaY: (612) 436-1801
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CASE 0:19-cv-02170-JNE-SER Doc. 1-1 Filed 08/08/19 Page 6 of 53




                            Raymond C. Silverman (Pro Hac Vice
                            Anticipatecl)
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                            rsilverman@yourlawyer.com
                            mmuhlstock@yourlawyer.com

                            Attorneys for Plaintiff
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STATE OF MINNESOTA                                                    DISTRICT COURT

COUNTY OF RAMSEY                                          SECOND JUDICIAL DISTRICT

                                                         CASE TYPE: Products Liability


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 Wiederhold, Damian Williams Sherrod,
 Jeremiah Wolfe, and Robert Young,

        Plaintiffs,


 V.

 3M COMPANY and
 AEARO TECHNOLOGIES LLC,

        Defendants.


       Plaintiffs, Keenen Benjamin, Mike Boquist, David Caudill, Justin Chapman, Scott

Chiasson, Jon Deacon, Jonathan Edwards, Peter Evans, Adam Faizi, Norman Francis, Zackeiy

Gates, Kevan Groves, Joe Grubb, Matthew Hall, Brian Harmon, Nathaniel Harris, Matthew Hart,

James Haulton, Ronnie Heckstall, William Howell, Anthony Johnson, Terry Kemp, Angela King,

Tony Minyo, Raymond Morillo, Oliver 011ar, Joshua Owens, Everett Ozenne, William Parchim,
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Rickey Parsons, Jason Pessa, Billy Phan•is, Luis Ramirez, Jeffery Reece, Jeffrey Robbins, Jeremy

Shaulis, Hubert Somohano, Jackie Thompson, James Trussell, Trumaine Turner, Anthony Uzzetta,

Delio Vidal, William Walker, Patrick Walker, Andrew Way, Kyle White, Brandon Wiederhold,

Damian Williams Sherrod, Jeremiah Wolfe, and Robert Young (collectively referred to herein as

"Plaintiffs") bring this action against defendants 3M Company and Aearo Technologies LLC

(collectively referred to herein as "Defendants"), and in support thereof allege:


                                    NATURE OF THE CASE

        1.     Defendants knowingly sold dangerously defective Dual-Ended Combat ArmSTM

earplugs to the United States ("U.S.") military from 2003-2015 without disclosing their knowledge

of those dangerous defects. Defendants did not disclose: that the Dual-Ended Combat ArmSTM

earplugs did not meet the written specifications provided by the U.S. Government; that the Dual-

Ended Combat ArmsT"' earplugs did not fit properly into users' ear canals as required by ANSI

S3.19-1974, Section 3.2.3 and ASA STD 1-1975; that the sound attenuation testing they performed

violated ANSI S3.19-1974; that the sound attenuation testing they performed had results far below

the "22" Noise Reduction Rating ("NRR") that would have been expected for the closed (olive)

end of the earplug; the reasons why the sound attenuation testing they performed had results far

below the "22" NRR that would have been expected for the closed (olive) end of the earplug; that

when the earplugs are inserted into the ear according to their standard insti-uctions, the basal edge

of the third flange of the non-inserted end is prone to press against the ear canal and fold back to

its original shape, causing the earplugs' seal to loosen. Further, Defendants did not provide

adequate warnings or instructions for use.

       2.      Plaintiff's lawsuit exposes the deception committed by Defendants, whose Dual-

Ended Combat ArmsTn'' earplugs have likely caused significant hearing injuries in the tens and



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possibly hundreds of thousands of U.S. military service members, including Plaintif£ Plaintiff's

lawsuit is preceded by a separate lawsuit brought against 3M Company ("3M") by the Department

of Justice under the qui tam provisions of the False Claims Act, alleging similar fraudulent

representations. United States of America ex rel. Moldex-Metric, Inc. v. 3M Company, 3:16-cv-

01533-DCC, filed May 12, 2016. That lawsuit resulted in Defendants paying the U.S. Government

$9.1 million in July 2018. Department of Justice, Office of Public Affairs, Press Release, 3M

Company Agrees to Pay $9.1 Million to Resolve Allegations That it Supplied the United States

With Defective Dual-Ended Combat Arms Earplugs (July 25, 2018), available at

https://www.justice.gov/opa/pr/3m-company-agrees-pay-9l-million-resolve-allegations-it-

supplied-united-states-defective-dual (last accessed Jan. 15, 2019). To this day, the Dual-Ended

Combat ArmsT"' earplugs have not been recalled and continue to threaten the health and safety of

U.S. military personnel who trust them to protect their hearing.

                                 JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over Plaintiffs' claims under Minn. Stat.

§ 484.01, subd. 1.

       4.      This action is not removable to federal court because Plaintiffs assert no claim

arising under the Constitution, law, or treaties of the United States to satisfy 28 U.S.C. § 1331 and

because the requirements of 28 U.S.C. § 1332(a) are not met. Further, Plaintiffs bring this suit in

Defendants' home state and therefore 28 U.S.C. § 1441(b)(2) precludes removal.

       5.      Venue in this Court is proper in that Defendant maintains its principal place of

business in the State of Minnesota, County of Ramsey, City of St. Paul, and transacts business

here. Minn. Stat. § 543.19.




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                                             PARTIES

Keenen Benjamin

        6.      Plaintiff Keenen Benjamin is a resident of Tempe, Arizona.

        7.      During military service, Plaintiff Keenen Benjamin was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Mike Boquist

        S.      Plaintiff Mike Boquist is a resident of Elk Run Heights, Iowa.

        9.      During military service, Plaintiff Mike Boquist was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsT"' earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

David Caudill

       10.      Plaintiff David Caudill is a resident of Green Cove Springs, Florida.

       11.      During military service, Plaintiff David Caudill was issued a pair of standard-issue

Dual-Ended Combat ArmsT"' earplugs and wore the Dual-Ended Combat ArmsT'" earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Justin Chapman

       12.      Plaintiff Justin Chapman is a resident of Maurice, Louisiana.

       13.      During military service, Plaintiff Justin Chapman was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsT"' earplugs




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during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Scott Cl:iasson

        14.     Plaintiff Scott Chiasson is a resident of Madisonville, Louisiana.

        15.     During military service, Plaintiff Scott Chiasson was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Jon Deacon

        16.     Plaintiff Jon Deacon is a resident of Rincon, Georgia.

        17.     During military service, Plaintiff Jon Deacon was issued a pair of standard-issue

Dual-Ended Combat ArmSTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Jonatlian Edwards

        18.     Plaintiff Jonathan Edwards is a resident of Washingtonville, New York.

        19.    During military service, Plaintiff Jonathan Edwards was issued a pair of standard-

issue Dual-Ended Combat ArmsT'" earplugs and wore the Dual-Ended Combat ArmsT"' earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Peter Evans

       20.     Plaintiff Peter Evans is a resident of Pendleton, Kentucky.




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        21.     During military service, Plaintiff Peter Evans was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Adam Faizi

        22.     Plaintiff Adam Faizi is a resident of Roanoke, Virginia.

        23.     During militaiy service, Plaintiff Adam Faizi was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Norman Francis

        24.     Plaintiff Norman Francis is a resident of Des Plaines, Illinois.

        25.     During military sei-vice, Plaintiff Noi-man Francis was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Zackery Gates

       26.      Plaintiff Zackery Gates is a resident of Ada, Oklahoma.

       27.      During militaiy service, PlaintiffZackery Gates was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.




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Kevan Groves

        28.    Plaintiff Kevan Groves is a resident of Duncan, Oklahoma.

        29.    During military service, Plaintiff Kevan Groves was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Joe Grubb

        30.    Plaintiff Joe Grubb is a resident of Roanoke, Virginia.

        31.    During military service, Plaintiff Joe Grubb was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Matthew Hall

       32.     Plaintiff Matthew Hall is a resident of Vicksbm•g, Michigan.

       33.     During military service, Plaintiff Matthew Hall was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Brian Harmon

       34.     Plaintiff Brian Harmon is a resident of Searcy, Arkansas.

       35.     During military service, Plaintiff Brian Harmon was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during




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      CASE 0:19-cv-02170-JNE-SER Doc. 1-1 Filed 08/08/19 Page 14 of 53




training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Nathaniel Harris

        36.     PlaintiffNathaniel Harris is a resident ofMaywood, Illinois.

        37.     During military service, Plaintiff Nathaniel Harris was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsT"' earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Matthew Hart

        38.    Plaintiff Matthew Hart is a resident of Peoria, Arizona.

        39.    During military service, Plaintiff Matthew Hart was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

James Haulton

       40.     Plaintiff James Haulton is a resident of Wellsburg, New York.

       41.     During military service, Plaintiff James Haulton was issued a pair of standard-issue

Dual-Ended Combat ArmsT"' earplugs and wore the Dual-Ended Combat ArmsT"' earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Ronnie Heekstall

       42.     Plaintiff Ronnie Heckstall is a resident of Winston Salem, Nortli Carolina.




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      CASE 0:19-cv-02170-JNE-SER Doc. 1-1 Filed 08/08/19 Page 15 of 53




        43.     During militaiy service, Plaintiff Ronnie Heckstall was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs

dw•ing training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Williarn Howell

        44.     Plaintiff William Howell is a resident of Statesboro, Georgia.

        45.     During military service, Plaintiff William Howell was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Anthony Johnson

        46.    Plaintiff Anthony Johnson is a resident of Seale, Alabama.

       47.     During military service, Plaintiff Anthony Johnson was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat Ai-msTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Terry Kernp

       48.     Plaintiff Teriy Kemp is a resident of Maiy Esther, Florida.

       49.     During military service, Plaintiff Teriy Kemp was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.




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Angela King

        50.     Plaintiff Angela King is a resident of Louisville, Kentucky.

        51.     During military service, Plaintiff Angela King was issued a pair of standard-issue

Dual-Ended Combat ArmsT'" earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Tony Minyo

        52.     Plaintiff Tony Minyo is a resident of Lore City, Ohio.

        53.     During military service, Plaintiff Tony Minyo was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Raymond Morillo

        54.     Plaintiff Raymond Morillo is a resident of Radcliff, Kentucky.

        55.    During military service, Plaintiff Raymond Morillo was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat Ai-msTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Oliver 011ar

       56.     Plaintiff Oliver 011ar is a resident of Henderson, Nevada.

       57.     During military service, Plaintiff Oliver 011ar was issued a pair of standard-issue

Dual-Ended Combat ArmsT'" earplugs and wore the Dual-Ended Combat ArmsTM earplugs during




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    training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result
-
    of the defective nature of the earplugs.

    Josh ua Owens

           58.     Plaintiff Joshua Owens is a resident of Fayetteville, Tennessee.

           59.     During military service, Plaintiff Joshua Owens was issued a pair of standard-issue

Dual-Ended Combat ArmsT'" earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Everett Ozenne

           60.     Plaintiff Everett Ozenne is a resident of Broussard, Louisiana.

           61.     During militaiy service, Plaintiff Everett Ozenne was issued a pair of standard-issue

Dual-Ended Combat ArmsT"' earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

    Williarn Parchirn

           62.     Plaintiff William Parchim is a resident of Belton, Texas.

           63.     During militaiy service, Plaintiff William Parchim was issued a pair of standard-

issue Dual-Ended Combat ArmsT"' earplugs and wore the Dual-Ended Combat ArmsT'" earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Rickey Parsons

           64.     Plaintiff Rickey Parsons is a resident of Clarksville, Tennessee.
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        65.     During militaiy service, PlaintiffRickey Parsons was issued a pair of standard-issue

Dual-Ended Combat ArmsT'" earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Jason Pessa

       66.      Plaintiff Jason Pessa is a resident of Copperas Cove, Texas.

       67.      During military service, Plaintiff Jason Pessa was issued a pair of standard-issue

Dual-Ended Combat ArmSTM earplugs and wore the Dual-Ended Combat AnnSTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Billy Pharris

       68.      Plaintiff Billy Phan•is is a resident of Centerville, Tennessee.

       69.      During militaiy service, Plaintiff Billy Pharris was issued a pair of standard-issue

Dual-Ended Combat ArmsT'" earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Luis Ramirez

       70.      Plaintiff Luis Ramirez is a resident of San Benito, Texas.

       71.      During military service, Plaintiff Luis Ramirez was issued a pair of standard-issue

Dual-Ended Combat ArmsT'" earplugs and wore the Dual-Ended Combat ArmSTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.




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Jeffery Reece

        72.     Plaintiff Jeffery Reece is a resident of Summer Shade, Kentucky.

        73.     During military service, Plaintiff Jeffery Reece was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmSTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Jeffrey Robbins

       74.      Plaintiff Jeffrey Robbins is a resident of Haughton, Louisiana.

       75.      During military service, Plaintiff Jeffrey Robbins was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Jeremy Slzaulis

       76.      Plaintiff Jeremy Shaulis is a resident of Uniontown, Pennsylvania.

       77.      During military service, Plaintiff Jeremy Shaulis was issued a pair of standard-issue

Dual-Ended Combat ArmSTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Hubert Somohano

       78.      Plaintiff Hubert Somohano is a resident of Phenix City, Alabama.

       79.      During military service, Plaintiff Hubert Somohano was issued a pair of standard-

issue Dual-Ended Combat ArmSTM earplugs and wore the Dual-Ended Combat ArmsT'" earplugs




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during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Jackie Thompson

        80.     Plaintiff Jackie Thompson is a resident of Louisville, Kentucky.

        81.     During military service, Plaintiff Jackie Thompson was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsT'" earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnittis as

a result of the defective nature of the earplugs.

James Trussell

        82.     Plaintiff James Trussell is a resident ofNew Braunfels, Texas.

        83.     During militaiy service, Plaintiff James Trussell was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Trumaine Turner

        84.    Plaintiff Trumaine Turner is a resident of Ft. Mitchell, Alabama.

        85.    During military service, Plaintiff Trumaine Turner was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmSTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Anthony Uzzetta

       86.     Plaintiff Anthony Uzzetta is a resident of Melbourne, Florida.




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        87.     During military service, Plaintiff Anthony Uzzetta was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Delio Vidal

        88.    Plaintiff Delio Vidal is a resident of Ludowici, Georgia.

        89.    During military service, Plaintiff Delio Vidal was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

William Walker

        90.    Plaintiff William Walker is a resident of Augusta, Georgia.

        91.    During military service, Plaintiff William Walker was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Patrick Walker

       92.     Plaintiff Patrick Walker is a resident of Clarksville, Tennessee.

       93.     During military service, Plaintiff Patrick Walker was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.




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Andrew Way

        94.     Plaintiff Andrew Way is a resident of Stittville, New York.

        95.     During military service, Plaintiff Andrew Way was issued a pair of standard-issue

Dual-Ended Combat ArmsT"' earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Kyle White

        96.     Plaintiff Kyle White is a resident of Prescott, Arizona.

        97.     During military service, Plaintiff Kyle White was issued a pair of standard-issue

Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs during

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Brandon Wiederhold

        98.    Plaintiff Brandon Wiederhold is a resident of Breaux Bridge, Louisiana.

        99.    During militaiy service, Plaintiff Brandon Wiederhold was issued a pair of

standard-issue Dual-Ended Combat ArmSTM earplugs and wore the Dual-Ended Combat ArmSTM

earplugs during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or

tinnitus as a result of the defective nature of the earplugs.

Damian Williarns Sherrod

        100.   Plaintiff Damian Williams Sherrod is a resident of Providence, Rhode Island.

        101.   During military service, Plaintiff Damian Williams Sherrod was issued a pair of

standard-issue Dual-Ended Combat ArmSTM earplugs and wore the Dual-Ended Combat Ai-msTM




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earplugs during ti•aining and/or in the field. Plaintiff subsequently suffered hearing loss and/or

tinnitus as a result of the defective nature of the earplugs.

Jeremiah Wolfe

        102.   Plaintiff Jeremiah Wolfe is a resident of Riverside, California.

       103.    During militaiy service, Plaintiff Jeremiah Wolfe was issued a pair of standard-

issue Dual-Ended Combat ArmsTM earplugs and wore the Dual-Ended Combat ArmsTM earplugs

during training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as

a result of the defective nature of the earplugs.

Robert Young

       104.    Plaintiff Robert Young is a resident of Picayune, Mississippi.

       105.    During militaiy service, Plaintiff Robert Young was issued a pair of standard-issue

Dual-Ended Combat ArmsT"' earplugs and wore the Dual-Ended Combat ArmsTM earplugs dui•ing

training and/or in the field. Plaintiff subsequently suffered hearing loss and/or tinnitus as a result

of the defective nature of the earplugs.

Defendants

       106.    Defendant 3M is a corporation organized and existing under the laws of the State

of Delaware, with its principal place of business located in Minnesota. 3M is engaged in the

business of researching, testing, developing, designing, manufacturing, licensing, distributing,

supplying, selling, marketing, and introducing into interstate commerce, either directly or

indirectly through third parties or related entities, its products, including the Dual-Ended Combat

ArmsT"' earplugs.

       107.    Defendant Aearo Technologies LLC (hereinafter "Aearo"), is a Delaware limited

liability company with a principal place of business in Indiana, which is registered to do business




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and receive service of process in Minnesota. Aearo is a wholly-owned subsidiary of Defendant

3M. At all relevant times and as relevant here, Defendant Aearo Technologies LLC utilized two

assumed names: Aearo Company and Aearo Technologies.

                                   FACTUAL ALLEGATIONS

        108.    The Dual-Ended Combat ArmSTM earplugs were originally created, made,

manufactured, constructed, assembled, designed, formulated, tested, promoted, advertised,

marketed, distributed and/or sold by Defendants Aearo Technologies LLC.

        109.    Defendant 3M acquired Aearo in 2008, including Aearo's liabilities, and is

therefore liable for Aearo's conduct as alleged herein. Defendant 3M hired Aearo's employees that

developed and tested the defective earplugs and maintains it as a separate operative unit of 3M.

After the acquisition, the Dual-Ended Combat ArmsT"' earplugs were sold under the 3M brand.

        110.    Defendants' Dual-Ended Combat ArrnSTM earplugs were intended to provide linear

and non-linear/selective attenuation hearing protection. Non-linear attenuation is also called level-

dependent hearing protection. The earplugs were designed to purportedly provide soldiers with

two different options for hearing attenuation depending upon which end of the earplugs was

inserted into the ear.

       111.     The Dual-Ended Combat ArmsT"'' earplugs with a yellow "open" end and an olive

"closed" end are pictured below:




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        112.    In addition to providing heat•ing protection, the Dual-Ended Combat ArmsT'"

earplugs were designed to help provide situational awareness by protecting against concussive

disorientation effects associated with impulse noise. The design of the yellow or non-linear end

was intended to allow users, including Service Members, to hear low level sounds, such as a person

speaking in close range. This was one of the characteristics that caused the military to purchase

the Dual-Ended Combat ArmSTM earplugs from Defendants.

        113.    One end of the Dual-Ended Combat ArmsT"' earplug (the olive end) was marketed,

advertised, and promoted by Defendants to act as a traditional earplug and block as much sound

as possible (the "closed" end or "blocked" position).

        114.    The other end of the Dual-Ended Combat ArmsTM earplug (the yellow end) was

marketed, advei-tised, and promoted by Defendants to reduce loud impulse sounds such as

battlefield explosions and artillery fire, while also allowing the user to hear quieter noises such as

commands spoken by fellow soldiers and approaching enemy combatants (the "open" end or

"unblocked" position).

        115.    Regardless of which end was inserted into the ear, at all relevant times both ends

of the Dual-Ended Combat ArmSTM were marketed, advei-tised, and promoted by Defendants as

providing sufficient and/or adecluate protection.

        116.    Defendants' Dual-Ended Combat ArmSTM earplugs were sold to the militaty

beginning in at least late 2003 and continued to be sold directly and indirectly by Defendants to

the military and other civilians through 2015, when Defendants discontinued the earplugs.

        117.    Defendants' Dual-Ended Combat ArmsT"' earplugs were also sold commercially to

civilian users dur-ing this timefi•ame.




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        118.    Users, including Service Members, i•eceived Defendants' standard fitting

instructions with respect to both ends of the Dual-Ended Combat ArmsT"' earplug. These

instructions are the same for both ends—directing the user to grasp the earplug by the stem and

insert it into the ear canal.

        119.    The design of the Dual-Ended Combat ArmSTM earplugs is defective because it

prevents a snug fit and proper seal in the ear canal of the user.

        120.    When inserted according to Defendants' standard fitting instructions, the edge of

the third flange of the non-inserted end of the earplug presses against the users, including Service

Members' ear canals and fold back; when the inward pressure on the earplug is released, the folded

back flange returns to its original shape which can cause loosening of the seal in the user's ear

canal and thus inadequate hearing protection.

        121.    Defendants did not provide an adequate warning of this inherent defect and risk

even though Defendants were aware of this defect and risk at all relevant times.

        122.    Because the Dual-Ended Combat ArmsTM earplugs are symmetrical, following

Defendants' standard fitting instructions results in a loosening of the fit and seal regardless of

which side of the earplug is inserted into the ear canal.

                                History of Testing: January 2000

        123.    Defendants began testing the Dual-Ended Combat ArmsT"' earplugs in

approximately December 1999 or January 2000.

        124.    The purpose of this initial testing was to determine the NRR of the Dual-Ended

Combat ArmsT'" earplugs.

        125.    Hearing protection devices are classified by their potential to reduce noise in

decibels ("dB"), a term used to categorize the power or density of sound.




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        126.   Hearing protection devices must be tested and approved by the American National

Standards Institute ("ANSI") in accordance with the Occupational Safety & Health Administration

("OSHA") guidelines.

       127.    Noise Reduction Rating ("NRR") is a unit of ineasurement used to determine the

effectiveness of hearing protection devices to decrease sound exposure within a given working

environment, or attenuation.

       128.    The higher the NRR number associated with a hearing protection device, the greater

the potential for noise reduction.

       129.    Earplugs, including the Dual-Ended Combat ArmsTM earplugs, are required to be

sold with a stated NRR that accurately reflects the effectiveness of hearing protection.

       130.    Defendants chose to conduct this testing at their own laboratory rather than at an

outside, independent laboratory.

       131.    Defendants' employees personally selected ten test subjects to test the Dual-Ended

Combat ArmsTM earplugs, some of whom were employees of Defendants.

       132.    In an effort to purportedly determine the NRR of the Dual-Ended Combat ArmsTM

earplug, Defendants designed the January 2000 test to capture: (1) each subject's hearing without

an earplug inserted; (2) each subject's hearing with the open end of the Dual-Ended Combat

ArmsTM earplug inserted (the unblocked position); and (3) each subject's hearing with the closed

end of the Dual-Ended Combat ArmsTM earplug inserted (the blocked position).

       133.    Defendants' personnel monitored the results of eacll subject as the test was being

pe►-formed. This type ofmonitoring allowed Defendants to stop the test ifthe desired NRR results

were not achieved.




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        134.   Eight of the ten subjects were evaluated using the closed end of the Dual-Ended

Combat ArmsTM earplugs.

        135.   Testing of these eight subjects revealed an average NRR of 10.9, which was far

below the intended and desired NRR necessary for adequate hearing protection for users, including

Service Members.

        136.   Because Defendants' personnel were monitoring the results of each subject as the

test was being performed, and because the test results were well below the intended and desired

NRR necessary for adequate hearing protection after the testing of these eight subjects, Defendants

prematurely terminated the January 2000 testing of the closed end of the Dual-Ended Combat

ArmsTM earplugs.

        137.   Defendants' personnel decided not to test the closed end ofthe Dual-Ended Combat

ArmsT'" earplugs for two of the ten subjects because the results were well below the intended and

desired NRR for adequate hearing protection in the other test subjects.

        138.   In looking into the cause of the low NRR, Defendants' personnel detei-mined that

when the closed end of the earplug was inserted into the user's ear according to the standard fitting

instructions, the basal edge of the third flange of the open end would press against the user's ear

and fold backwards. When the inward pressure on the earplug was released, the flanges on the

open end would return to their original shape and cause the earplug to loosen, often imperceptibly

to the user.

        139.   Given the symmetrical nature of the Dual-Ended Combat ArmsTM earplugs, this

defect that prevents a snug fit and good sea] occurs when either end of the earplug is inserted

according to the standard fitting instructions.




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        140.      ln Januaiy 2000, Defendants' personnel documented in the so-called "Flange

Report" why the Dual-Ended Combat ArmsT"' earplugs had failed to meet the necessary level of

protection during testing; Defendants found that unless the opposing flange was folded back, the

earplug would imperceptibly loosen and not provide the necessaiy level of hearing protection.

        141.      Imperceptible loosening would allow dangerous sound waves past the earplug and

damage the user's hearing. This damage could result in hearing loss and tinnitus, which could be

permanent in nature.

       142.       As to testing on the open end of the Dual-Ended Combat ArmsTM, Defendants

completed testing of all ten subjects and obtained a facially invalid result of -2 NRR, which would

indicate that the open end of the earplug actually amplified sound, an unsound result with no valid

scientific explanation.

       143.       Defendants' represented the -2 NRR as a"0" NRR, which Defendants have

displayed on the packaging of the Dual-Ended Combat ArmsTM earplugs since the earplugs were

first launched.

       144.       Defendants falsely tout the "0" NRR as a benefit of the Dual-Ended Combat

ArmSTM earplug by suggesting that soldiers will be able to hear their fellow soldiers and enemies

while still providing some protection for impulse noise.

                               History of Testing: February 2000

       145.       Upon identifying the fit and seal defect with their Dual-Ended Combat ArmSTM

earplugs, Defendants re-tested the closed end of the Dual-Ended Combat ArmSTM earplug in

February 2000 using a different inset-tion method, contraiy to the ultimate instructions that would

be provided to the military or users, including Sei•vice Members ("February 2000 testing").




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        146.    When testing the closed end of the Dual-Ended Combat ArmsT'" earplugs,

Defendants' personnel folded back the yellow flanges on the open end prior to inserting the closed

end into the ear in order to create a tighter fit and seal.

        147.    As a result of this reconfigured fitting procedure, Defendants achieved a"22" mean

NRR on the closed end of the Dual-Ended Combat ArmsT"' eaiplugs.

        148.    Defendants have displayed this 22 NRR on the packaging of the Dual-Ended

Combat ArmsT'" earplugs since the earplugs were first "made available to consumers (both military

and commercial)."

        149.    Defendants, however, failed to properly warn military personnel and other users,

including Service Members, of the Dual-Ended Combat ArmsTM earplugs that the only potential

way to achieve this purported NRR of 22 was to modify the Dual-Ended Combat ArmsT"' earplug

by folding the flanges back on the opposite end.

        150.    The open end of the Dual-Ended Combat ArmsT'" earplug was not re-tested using

the reconfigured fitting procedure.

                           Defendants' Representations and Omissions

       151.     As early as 2000, Defendants were aware of the dangerous design defects

associated with their Dual-Ended Combat ArmsT'" earplugs and the fact that the earplugs

inadequately protected the hearing of users, including Service Members.

       152.     Defendants knew the defective design of the Dual-Ended Combat ArmsT"' earplugs

could cause the earplugs to loosen in the user's ear—imperceptible to not only the user but also

trained audiologists visually observing a user—thereby permitting damaging sounds to enter the

ear canal by traveling around the outside of the earplug, while the user and/or audiologist

incorrectly believed that the earplug worked as intended.




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        153.   From 2003 to 2012, Defendants were the exclusive supplier ofDual-Ended Combat

ArmsTM earplugs to U.S. militaiy personnel.

       154.    At the time when Defendants became the exclusive supplier ofDual-Ended Combat

ArmsTM earplugs to U.S. militaiy personnel, Defendants were aware of the products' defects that

failed to protect users, including Service Members, from loud sounds.

       155.    Defendants did not adequately warn of the defects with the Dual-Ended Combat

ArmsT"'' earplugs.

       156.    Defendants did not adequately warn or instruct the users, including Set-vice

Members, of the Dual-Ended Combat ArmsTM earplugs how to properly wear and insert them to

achieve their advertised and promoted NRR rating.

       157.    Defendants expressly certified that the Dual-Ended Combat ArmsT'" earplugs

complied with the Salient Characteristics of Medical Procurement Item Description ("MPID") of

Solicitation No. SP0200-06-R-4202.

       158.    Defendants knew at the time they made their certifications that the Dual-Ended

Combat ArmsT"' earplugs did not comply with the MPID.

       159.    The pertinent Salient Characteristics set forth in the MPID, which were uniform

across all military Requests for Proposals, are, in relevant part, as follows:

               2.1.1. Earplugs shall be designed to provide protection from the impulse
               noises created by military firearms, while allowing the user to clearly hear
               normal speech and other quieter sounds, such as voice commands, on the
               battlefield.

               2.2.2. The sound attenuation of both ends of the earplugs shall be tested in
               accordance with ANSI S3.19.

               2.4    Workmanship. The earplugs shall be free from all defects that
               detract from their appearance or impair their serviceability.




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                2.5   Instructions. Illustrated instructions explaining the proper use
                and handling of the earplugs shall be supplied with each unit.

       Solicitation No. SP0200-06-R-4202 at 41-42 (emphasis added).

        160.    Defendants also knowingly used the results of the deliberately manipulated and

flawed retest of the closed end of the earplugs to sell Dual-Ended Combat ArmsT"' earplugs to the

military with the representation that the earplugs possessed a"22" NRR in the closed position and

would provide good fit and seal for users, including Sei-vice Members.

        161.   Defendants included standard instructions for "pr•oper use" of the earplugs in the

packaging for the earplugs as required by the Noise Control Act, and the MPID.

        162.   Defendants' standard instructions for "proper use" of their Dual-Ended Combat

ArmsTM earplugs do not instruct all users, including Service Members to use the "reconfigured"

insertion method that was used in the February 2000 testing—a method that would require the user

to fold back the flanges of the opposite end before inserting the earplug into the ear to achieve

good fit and seal and adequate attenuation.

       163.    Defendants' standard instructions for "proper use" of their Dual-Ended Combat

ArmsTM earplugs do not warn users, including Service Members, that the subjects who tested the

earplugs did not follow these standard instructions, or that the earplugs only received the 22 NRR

because the subjects used the reconfigured insertion method, which required them to fold back the

flanges of the opposite end before inserting the earplug into the ear.

       164.    Instead, Defendants' standard instructions for "proper use" of their Dual-Ended

Combat ArmsT"' earplugs improperly direct users, including Service Members, to simply insert

the earplugs into the ear canal.

       165.    By failing to properly instruct users, including Service Members, of the Dual-Ended

Combat ArmsT"' earplug to fold back the flanges on the non-inserted end of the earplug before



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inserting the opposite end ofthe earplug into their ears (which is necessaiy to achieve the promoted

22 NRR), Defendants falsely overstated the amount of hearing protection provided by the closed

end of the Dual-Ended Combat ArmsT'" earplug.

       166.    Defendants likewise misstated the amount of hearing protection provided by the

open end of the Dual-Ended Combat ArmsTM earplug.

       167.    Defendants' labeling, packaging, and marketing of the Dual-Ended Combat

ArmsT"' earplugs' standard instructions is misleading to the user and has caused thousands of users,

including Service Members, to suffer significant hearing loss and tinnitus, and has further exposed

millions more to the risk caused by their defective Dual-Ended Combat ArmsT"' earplugs.

       168.    Defendants' labeling, packaging and marketing ofthe Dual-Ended Combat ArmsTM

earplugs' standard instructions with an NRR of "22" with corresponding instructions to simply

insert the earplugs into the ear canal is misleading to the user and has caused thousands of users,

including Sei-vice Members, to suffer significant hearing loss and tinnitus, and has further exposed

millions more to the risk caused by their defective Dual-Ended Combat ArmsTM earplugs.

       169.    Despite knowing that their flawed testing of the Dual-Ended Combat ArmsTM

earplugs to achieve the 22 NRR involved steps to manipulate the fit of the Dual-Ended Combat

ArmsTM earplugs, Defendants' instructions for use for the Dual-Ended Combat ArmsT'" earplugs

do not instruct, and never have instructed, the user to fold back the flanges on the open end of the

plug before inserting the closed end of the plug into their ear to achieve proper fit and seal

necessaly for adequate attenuation.

       170.    Defendants' instructions that instead direct the user to simply insert the earplugs

into the ear canal are facially inadequate.




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        171.    In product packaging, Defendants misled users, including Service Members, by

providing a mere "fitting tip" that suggest that fitting could be improved if the sealing rings of the

outward directed plug are rolled back upon themselves. This "fitting tip" was misleading in that

it did not inform users, including Service Members that folding back the flanges of the outer end

was necessary to obtain proper fit and seal, and the level ofNRR hearing protection as represented.

        172.    Defendants were aware prior to selling the earplugs to the military that its testing

procedures and fitting instructions were unlawfully manipulated to obtain the NRRs they wanted

on both ends of the Dual-Ended Combat ArmsTM earplugs, and Defendants continued to use these

inaccurate NRRs to market and promote the earplugs for more than ten years without disclosing

the design defect in the earplugs.

        173.    At all times material hereto, Defendants committed a continuing fi•aud in

obfuscating and failing to disclose facts that were known to them relating to the fraudulent testing

they performed—facts that were not discovered and could not have been discovered by Plaintiff

undei-taking reasonable due diligence.

        174.    Plaintiff did not discover the true facts with respect to the dangerous and serious

health and/or safety concerns, and the false representations of Defendants, nor could Plaintiff with

reasonable diligence have discovered the true facts.

        175.    Plaintiff could not have discovered that Plaintiffls hearing damage was caused by

a defect in the Dual-Ended Combat ArmsT"' earplugs, due to the fact that the defect involved

"imperceptible loosening."

        176.    Defendants are jointly and severally liable to Plaintiff for their individual and

collective tortious acts.




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        177.     On July 26, 2018, Defendant 3M agreed to pay $9.1 million to resolve allegations

that it knowingly sold the Dual-Ended Combat ArmsTM Earplugs to the United States military

without disclosing defects that hampered the effectiveness ofthe hearing protection device.

                         TOLLING OF STATUTES OF LIMITATIONS

        178.     Under the Servicemembers Civil Relief Act, the period of Plaintiffs' military

service may not be included in computing any statute of limitations applicable herein. See 50

U.S.C. § 3936.

        179.     Plaintiffs could not, by the exercise of reasonable diligence, have discovered

Defendants' wrongful acts as the cause of their injuries at an earlier time, because, at the time of

these injuries, the cause was unknown to Plaintiffs. Plaintiffs did not suspect, nor did Plaintiffs

have reason to suspect, the cause of these injuries, or the tortious nature of the conduct causing

these injuries, until less than the applicable limitations period prior to the filing of this action.

        180.     Further, the running of the statute of limitations has been tolled by reason of

Defendants' fi•audulent concealment. Through their affirmative misrepresentations and omissions,

Defendants actively concealed from Plaintiffs the risks associated with the defects in the Dual-

Ended Combat ArmsTM earplugs.

        181.     As a result of Defendants' actions, Plaintiffs were unaware, and could not

reasonably know oi• have learned through reasonable diligence that they had been exposed to the

defects and risks alleged herein, and that those defects and risks were the direct and proximate

result of Defendants' acts and omissions.

       182.     Through Defendants' affirmative misrepresentations and omissions pertaining to

the safety and efficacy of the Dual-Ended Combat ArmsTM earplugs, Plaintiffs were prevented




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from discovering this information sooner because Defendants misrepresented and continued to

misrepresent the defective nature of the Dual-Ended Combat ArmsTM earplugs.

                                     CAUSES OF ACTION

              COUNT I: STRICT PRODUCTS LIABILITY — DESIGN DEFECT

       183.    Plaintiffs incorporate by reference the paragraphs above as if fitlly set forth herein.

       184.    Defendants are the manufacturers and sellers of the defective Dual-Ended Combat

ArmsT'" earplugs.

       185.    The defective Dual-Ended Combat ArmST'" earplugs that Defendants

manufactured, distributed, and sold were, at the time they left Defendants' control, defectively

designed in that the design of the earplug caused it to loosen in the wearer's ear, which allowed

damaging sounds to enter the ear canal.

       186.    The defective Dual-Ended Combat ArmSTM earplugs that Defendants

manufactured, distributed, and sold were, at the time they left Defendants' control, defective and

unreasonably dangerous for their ordinaiy and expected use, because they did not stop the

damaging loud noises from military service that can cause hearing loss or tinnitus.

       187.    The defective Dual-Ended Combat ArmSTM earplugs that Defendants

manufactured, distributed, and sold were, at the time they left Defendants' control, defective and

not reasonably safe for their intended use.

       188.    The Dual-Ended Combat ArmsT"' earplugs were defective in that the design of the

earplug caused them to loosen in the user's ear, imperceptibly to the user, thereby permitting

damaging sounds to enter the ear canal by traveling around the outside of the earplug while the

user incorrectly believes that the earplug is working as intended.




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       189.    When the Dual-Ended Combat ArmsT'" earplugs were inserted into the ear

according to standard fitting instructions provided by Defendants, a proper seal was not formed

with the ear canal.

       190.    The defect had the same effect wlien either end is inserted because the earplugs are

symmetrical. In either scenario, the effect was that the earplug may not maintain a tight seal in

some users, including Service Members', ear canals such that dangerous sounds can bypass the

earplug altogether, thereby posing serious risk to the user's hearing, unbeknownst to him or her.

       191.    Defendants knew of the defect in the Dual-Ended Combat ArmsT'" earplugs.

       192.    No reasonably prudent manufacturer would design, distribute, and sell an earplug

with the knowledge that Defendants had, namely that the earplugs would not guard against loud

impulse noises and could cause hearing loss and tinnitus.

       193.    The defective Dual-Ended Combat ArmsTM earplugs that the Defendants

manufactured, distributed, and sold were delivered to Plaintiffs without any change in their

defective condition and were used by Plaintiffs in the manner expected and intended.

       194.    Defendants manufactured, distributed, and sold the Dual-Ended Combat ArmSTM

earplugs without providing adequate or proper instructions to avoid the harm that could

foreseeably occur because of using the earplugs in the manner the Defendants' standard fitting

instructions directed.

       195.    Defendants owed a duty of care to Plaintiffs to design, manufacture, and sell

earplugs that met the specified performance criteria and were otherwise fit for use by Service

Members to protect them fi•om damaging noises typically incurred in military service. Defendants

breached this duty.




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        196.    Defendants owed a duty of care to Plaintiffs to design and sell earplugs that were

fit for use in military service and that performed according to the specifications that Defendants

certified the Dual-Ended Combat ArmsTM earplugs would meet. Defendants breached this duty.

        197.    Defendants owed a duty of care to Plaintiffs to design and sell earplugs that were

safe when used for their intended purpose; i.e., when in the presence of loud impulse sounds.

Defendants breached this duty.

        198.    Plaintiffs suffered injury and damage as a direct and proximate result of the

defective and unreasonably, unsafe, dangerous condition of the Dual-Ended Combat ArmsTM

earplugs that the Defendants manufactured, distributed, and sold.

          COUNT II: STRICT PRODUCT LIABILITY — USE DEFECTIVENESS

        199.    Plaintiffs incorporate by reference the paragraphs above as if fully set forth herein.

       200.    Defendants are the manufacturers and sellers of the defective Dual-Ended Combat

ArmsTM earplugs.

       201.    The defective Dual-Ended Combat ArmsTM earplugs that Defendants

manufactured, distributed, and sold were, at the time they left Defendants' control, defective

because the earplugs did not come with adequate warnings, instructions, or labels.

       202.    The defective Dual-Ended Combat ArmsTM earplugs that Defendants

manufactured, distributed, and sold were, at the time they left Defendants' control, defective

because Defendants failed to warn, failed to provide instructions, and failed to provide an adequate

label that included the modified fitting instructions necessaiy for the earplug to fit correctly in the

wearer's ear and create the seal necessary to block out the damaging sounds.




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        203.   Defendants had a duty to manufacture, design, and sell the Dual-Ended Combat

ArmsTM earplugs with reasonable and due care for the safety and well-being of wearers, including

Plaintiffs. Defendants breached that duty.

        204.   Defendants had a duty to provide adequate warnings and/or instructions to prevent

the risks associated with the Dual-Ended Combat ArmsTM earplugs when worn in the ordinary

course. Defendants breached that duty.

       205.    It was foreseeable to Defendants that the Dual-Ended Combat ArmsTM earplugs

would be unreasonably dangerous if distributed without the warning regarding the risks of damage

to the ear with an improper fit and/or modified fitting instructions.

       206.    Not only was it foreseeable, it was foreseen by Defendants. During testing,

Defendants discovered that when the Dual-Ended Combat ArmsTM earplugs were inserted into the

ear according to standard fitting instructions, a proper seal was not formed with the ear canal.

These fitting instructions were nonetheless provided to users by Defendants.

       207.    Defendants discovered that when the green end of the Dual-Ended Combat ArmsTM

earplug was inserted into the ear using the standard fitting instructions, the basal edge of the third

flange of the yellow end pressed against the wearer's ear and folded backward. When the inward

pressure of the earplug was released, the yellow flanges tended to return to their original shape,

thereby loosening the earplug, often imperceptibly to the wearer. And, because the Dual-Ended

Combat ArmsTM earplug was symmetrical, this same problem occurred when the earplug was

reversed.

       208.    Defendants had a post-sale duty to warn of the above alleged product-related

defects and risks because Defendants knew or reasonably should have known that the Dual-Ended

Combat ArmsTM earplug posed a substantial risk of harm to servicemen, including Plaintiffs; the




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set-vicemen who used the Dual-Ended Combat ArmsT"' earplug can reasonably be assumed to be

unaware of the risk of harm caused by the above-alleged defects because said defects were

imperceptible; a warning or instruction showing how to correctly and safely use the Dual-Ended

Combat ArmsT'" earplug could have been effectively communicated to and acted upon by the

servicemen to whom a warning or instruction might be provided; and the risk of harm, including

but not limited to hearing loss in servicemen, is sufficiently great to justify the slight burden of

providing a warning or instruction. Defendants breached this duty by failing to provide a post-sale

warning or instruction.

       209.    The Dual-Ended Combat ArmsTM earplugs contained no warnings, or in the

alternative, inadequate warnings and/or instructions, as to the risk that the Dual-Ended Combat

ArmsTM earplugs would allow damaging sounds to bypass the earplug thereby posing a serious

risk to Plaintiffs' hearing unbeknownst to Plaintiffs.

       210.    The warnings and instructions that accompanied the Dual-Ended Combat ArmSTM

earplugs failed to provide the level of information that an ordinaty wearer would expect when

using the Dual-Ended Combat ArmsT"' earplugs in a manner reasonably foreseeable to Defendants.

       211.    Had Plaintiffs received a proper or adequate warning as to the risks associated with

the use of the Dual-Ended Combat ArmSTM earplugs in the manner contemplated by Defendants,

Plaintiffs would not have used them.

       212.    Additionally, and/or alternatively, had Plaintiffs received the modified fitting

instructions that were used by Defendants during the testing, which were not disclosed to Plaintiffs,

Plaintiffs would have followed the modified fitting instructions to ensure a proper seal to prevent

damaging sounds from entering the ear canal.




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        213.   Plaintiffs suffered injury and damage as a direct and proximate result of the use-

defectiveness and Defendants' failures to warn and/or provide adequate instructions regarding the

dangerous condition of the Dual-Ended Combat ArmsT'" earplugs that the Defendants

manufactured, distributed, and sold.

                                  COUNT III: NEGLIGENCE

       214.    Plaintiffs incorporate by reference the paragraphs above as if fully set forth herein.

       215.    Defendants had a duty to each use their professional expertise and exercise that

degree of skill and learning ordinarily used under the same or similar business by a person or entity

in Defendants' business of designing, developing, testing, manufacturing, marketing, and

distributing hearing protection devices.

       216.    Defendants further had a duty to comply with the certifications made to the U.S.

government about the qualities and performance characteristics of the Dual-Ended Combat

ArmsT'" earplugs. Plaintiffs are among the class of persons designed to be protected by these

regulations and certification standards. Plaintiffs were foreseeable plaintiffs to Defendants.

       217.    Defendants breached these duties by failing to exercise the required degree of care

in designing, developing, testing, manufacturing, marketing, and distributing hearing protection

devices in a manner to provide the specified level of hearing protection.

       218.    The damages suffered by Plaintiffs were or should have been reasonably

foreseeable to Defendants.

       219.    Plaintiffs were damaged by Defendants' conduct, including but not limited to

damage to their hearing.

       220.    Defendants' breaches are a direct and proximate cause of the injuries and damages

suffered by Plaintiffs in an amount not yet fully determined, but in excess of $50,000 each.




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Plaintiffs are entitled to recover damages and other relief as available, at law or equity, as a direct

and proximate result of Defendants' conduct.

                       COUNT IV: NEGLIGENT MISREPRESENTATION

       221. Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fully set forth herein and further alleges as follows:

       222. Defendants made negligent misrepresentations with respect to the Dual-Ended

Combat ArmsTM earplugs including, but not limited to, the following particulars:

               a. Defendants represented through oral representations, labeling,
                  advertising, marketing materials, and publications that the Dual-Ended
                  Combat ArmsT"' earplugs had been tested and found to be safe and
                  effective protection against loud impulse noises using its provided
                  standard instructions for use.

               b. Defendants represented through oral representations, labeling,
                  advertising, marketing materials, and publications that an NRR 22 for
                  closed end and NRR of 0 for open end could be consistently achieved
                  without wearers folding back the earplug's opposing side's flanges
                  before inserting the Dual-Ended Combat ArmsTM earplugs.

               c. Defendants represented through oral representations, labeling,
                  advertising, marketing materials, and publications that the Dual-Ended
                  Combat ArmsT'" earplugs would not imperceptibly become loose, and
                  thus less effective, subsequent to insertion.


               d. Defendants represented through oral representations, labeling,
                  advertising, marketing materials, and publications that the Dual-Ended
                  Combat ArmsT"'' earplugs conformed to best manufacturing practices,
                  U.S. military specifications and federal regulations governing hearing
                  attenuation devices.


       223. Defendants did not exercise reasonable care or competence in obtaining or

communicating the infot•mation to the public regarding the characteristics and qualities of the

Dual-Ended Combat ArmsT'" earplugs.

       224. Plaintiff and the U.S. military did, in fact, reasonably rely upon Defendants'



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representations regarding the Dual-Ended Combat ArmsT'" earplugs.

        225.    As a direct and proximate result of the acts and conduct of Defendants, Plaintiff has

been injured in his health, strength and activity, and has suffered, continues to suffer and, on

information and belief, will suffer indefinitely into the future, severe, lasting, and debilitating

physical and mental pain and suffering, for which Plaintiff is entitled to compensatory and

equitable damages and declaratory relief in an amount to be proven at trial.

        226.    As a further direct and proximate result of the acts and conduct of Defendants,

Plaintiff has lost earnings and earning capacity, and will continue to incur such losses for an

indefinite period of time in the future, in an amount to be proven at trial.

       227.     As a further direct and proximate result of the acts and conduct of Defendants,

Plaintiff has incurred medical, hospital, and related expenses and, on information and belief, will

continue to incur such expenses in the future, for which Plaintiff is entitled to compensatory and

equitable damages and declaratory relief in an amount to be proven at trial.

                       COUNT V: FRAUDULENT MISREPRESENTATION

       228.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fully set forth herein and fui-ther alleges as follows:

       229.     Defendants made fi•audulent misrepresentations with respect to the Dual-Ended

Combat ArmsTM earplugs including, but not limited to, the following particulars:

                a. Defendants represented through oral representations, labeling,
                   advertising, marketing materials, and publications that the Dual-Ended
                   Combat ArmSTM earplugs had been tested and found to be safe and
                   effective protection against loud impulse noises using its provided
                   standard instructions for use.

                b. Defendants represented through oral representations, labeling,
                   advertising, marketing materials, and publications that an NRR 22 for
                   closed end and NRR of 0 for open end could be consistently achieved
                   without wearers folding back the earplug's opposing side's flanges
                   before inserting the Dual-Ended Combat ArmsT'" earplugs.


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                 c. Defendants represented through oral representations, labeling,
                    advertising, marketing materials, and publications that the Dual-Ended
                    Combat ArmsTM earplugs would not imperceptibly become loose, and
                    thus less effective, subsequent to insertion.

                 d. Defendants represented through oral representations, labeling,
                    advertising, marketing materials, and publications that the Dual-Ended
                    Combat ArmsTM earplugs conformed to best manufacturing practices,
                    U.S. militaiy specifications and federal regulations governing hearing
                    attenuation devices.



        230.     Defendants knew that their representations were false, yet they willfully, wantonly,

and recklessly disregarded their obligation to provide truthful representations regarding the safety

and risks of the Dual-Ended Combat ArmsT'" earplugs to consumers, including Plaintiff, and the

U.S. military.

        231.     The representations were made by Defendants with the intent that the U.S. military

and service members, including Plaintiff, rely upon them.

        232.     Defendants' representations were made with the intent of defrauding and deceiving

Plaintiffand the U.S. military to induce and encourage the sale ofthe Dual-Ended CombatArmSTM

earplugs.

        233.     Plaintiff and the U.S. military did in fact rely upon the representations. In the

absence of Defendants' representations, the Dual-Ended Combat ArmsT"' earplugs would not be

used in the manner in which Plaintiffused them.

        234.     Defendants' fraudulent representations evidence its callous, reckless, and willful

indifference to the health, safety, and welfare of consumers and service members, including

Plaintiff.

        235.     Upon information and belief, Defendants' conduct as described above was

committed with knowing, conscious, wanton, willful, and deliberate disregard for the value of




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human life and the rights and safety of consumers such as Plaintiff:

        236.    As a direct and proximate result ofthe acts and conduct ofDefendants, Plaintiffhas

been injured in his health, strength and activity, and has suffered, continues to suffer and, on

information and belief, will suffer indefinitely into the future, severe, lasting, and debilitating

physical and mental pain and suffering, for which Plaintiff is entitled to compensatoiy and

equitable damages and declaratory relief in an amount to be proven at trial.

       237.    As a further direct and proximate result of the acts and conduct of Defendants,

Plaintiff has lost earnings and earning capacity, and will continue to incur such losses for an

indefinite period of time in the future, in an amount to be proven at trial.

       238.    As a further direct and proximate result of the acts and conduct of Defendants,

Plaintiff has incurred medical, hospital, and related expenses and, on information and belief, will

continue to incur such expenses in the future, for which Plaintiff is entitled to compensatory and

equitable damages and declaratory relief in an amount to be proven at trial.

                            COUNT VI: FRAUDULENT CONCEALMENT

       239.    Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fully set forth herein and further alleges as follows:

       240.    Defendants fraudulently concealed information with respect to the Dual-Ended

CombatArmsT"' earplugs including, but not limited to, the following particulars:

               a. Defendants represented through oral representations, labeling,
                  advertising, marketing materials, and publications that the Dual-Ended
                  Combat ArmsT"' earplugs had been tested and found to be safe and
                  effective protection against loud impulse noises using its provided
                  standard instructions for use.

               b. Defendants represented through oral representations, labeling,
                  advertising, marketing materials, and publications that an NRR 22 for
                  closed end and NRR of 0 for open end could be consistently achieved
                  without wearers folding back the earplug's opposing side's flanges
                  before inserting the Dual-Ended Combat ArmsT"' earplugs.


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               c. Defendants represented through oral representations, labeling,
                  advertising, marketing materials, and publications that the Dual-Ended
                  Combat ArmsTM earplugs would not imperceptibly become loose, and
                  thus less effective, subsequent to insertion.
               d. Defendants represented through oral representations, labeling,
                  advertising, marketing materials, and publications that the Dual-Ended
                  Combat ArmsTM earplugs conformed to best manufacturing practices,
                  U.S. military specifications and federal regulations governing hearing
                  attenuation devices.

       241.    Defendants had sole access to material facts concerning the dangers and

unreasonable risks of the Dual-Ended Combat ArmsTM earplugs.

       242.    The concealment of information by Defendants about the risks of the Dual-Ended

Combat ArmsTM earplugs was intentional, and the representations made by Defendants was known

by Defendants to be false.

       243.    The concealment of information and the misrepresentations about the Dual-Ended

Combat ArmsTM earplugs were made by Defendants with the intent that U.S. military and service

members, including Plaintiff, rely upon them.

       244.    Plaintiff and the U.S. military relied upon the representations and were unaware of

the substantial risks of the Dual-Ended Combat ArmsTM earplugs which Defendants concealed

from the public, including Plaintiff.

       245.    Defendants' conduct as described above was committed with knowing, conscious,

wanton, willful, and deliberate disregard for the value of human life and the rights and safety of

set-vice members such as Plaintif£

       246.    As a direct and proximate result ofthe acts and conduct ofDefendants, Plaintiffhas

been injured in his health, strength and activity, and has suffered, continues to suffer and, on

information and belief, will suffer indefinitely into the future, severe, lasting, and debilitating

physical and mental pain and suffering, for which Plaintiff is entitled to compensatoiy and




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equitable damages and declaratory relief in an amount to be proven at trial.

         247.   As a further direct and proximate result of the acts and conduct of Defendants,

Plaintiff has lost earnings and earning capacity, and will continue to incur such losses for an

indefinite period of time in the future, in an amount to be proven at trial.

         248.   As a further direct and proximate result of the acts and conduct of Defendants,

Plaintiff has incurred medical, hospital, and related expenses and, on information and belief, will

continue to incur such expenses in the future, for which Plaintiff is entitled to compensatory and

equitable damages and declaratory relief in an amount to be proven at trial.

                             COUNT VII: NEGLIGENCE PER SE

         249.   Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fully set forth herein and further alleges as follows:

         250.   Defendants, through their testing, distributing, designing, marketing, and labeling

of the Dual-Ended Combat ArmsTM earplugs, violated federal regulations and statutes, including,

but not limited to, the False Claims Act, 31 U.S.C. § 3729, et seq., the Noise Control Act, 42 U.S.C.

§ 4901, et seq., 40 C.F.R. § 211.204-4(e) and 40 C.F.R. § 211.206-1 of the EPA regulations.

         251.   Defendants also violated the ANSI S3.19-1974 testing protocol, federal

specifications governing the product, and all applicable consumer protection statutes, as set out

below.

         252.   Defendants' violations of these state and federal laws and regulations caused

Plaintiff's injuries.

         253.   Plaintiff is within the class of persons the statutes and regulations are designed to

protect, and Plaintiff's injuries are the type of harm the statutes and regulations are designed to

prevent.




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        254.    Defendants' actions also breached its parallel common law duties to provide safe

products, to advertise honestly, and to provide reasonable assurance with respect to the safety and

effectiveness of the Dual-Ended Combat ArmsT'" earplugs for the purposes advertised.

        255.    Defendants' violations of the aforementioned laws, statutes, and regulations

constitute a breach of duty subjecting Defendants to civil liability for all damages arising

therefrom, under theories of negligence per se.

        256.    As a direct and proximate result of the acts and conduct of Defendants, Plaintiff has

been injured in his health, strength and activity, and has suffered, continues to suffer and, on

information and belief, will suffer indefinitely into the future, severe, lasting, and debilitating

physical and mental pain and suffering, for which Plaintiff is entitled to compensatoiy and

equitable damages and declaratory relief in an amount to be proven at trial.

        257.    As a further direct and proximate result of the acts and conduct of Defendants,

Plaintiff has lost earnings and earning capacity, and will continue to incur such losses for an

indefinite period of time in the future, in an amount to be proven at trial.

        258.    As a further direct and proximate result of the acts and conduct of Defendants,

Plaintiff has incurred medical, hospital, and related expenses and, on infoi-mation and belief, will

continue to incur such expenses in the future, for which Plaintiff is entitled to compensatory and

equitable damages and declaratory relief in an amount to be proven at trial.

                                  COUNT VIII: FRAUD AND DECEIT

        259.    Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fiilly set forth herein and fw-ther alleges as follows:

       260.     Defendants conducted unlawful and improper testing on the Dual-Ended

Combat ArmsT"' earplugs.




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        261.    As a result of Defendants' unlawful and improper testing, Defendants blatantly

and intentionally distributed false infoi•mation, which overstated the amount of hearing

protection provided by the Dual-Ended Combat ArmsTM earplugs.

        262.    As a result of Defendants' unlawful and improper testing, Defendants intentionally

omitted and misrepresented certain test results to Plaintiff.

        263.    Defendants had a duty when disseminating information to the public to disseminate

truthful information and a parallel duty not to deceive the public and Plaintiff.

        264.    The information distributed to Plaintiff by Defendants contained material

representations of fact and/or omissions concerning the hearing protection provided by the Dual-

Ended Combat ArmsTM earplugs.

        265.    These representations were all false and misleading.

        266.    Upon information and belief, Defendants intentionally suppressed and/or

manipulated test results to falsely overstate the amount of hearing protection provided by the Dual-

Ended Combat ArmsTM earplugs.

        267.    It was the purpose of Defendants in making these representations to deceive and

defi•aud the public and/or Plaintiff, to gain the confidence of the public, and/or Plaintiff, to

falsely ensure the quality and fitness for use of the Dual-Ended Combat ArmsTM earplugs and

induce the public, and/or Plaintiff to purchase, request, dispense, recommend, and/or continue

to use the Dual-Ended Combat ArmsTM earplugs.

       268.     Defendants made the aforementioned false claims and false representations with the

intent of convincing the public and/or Plaintiff that the Dual-Ended Combat ArmsTM earplugs

were fit and safe for use.




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       269.    These representations and others made by Defendants were false when made,

and/or were made with a pretense of actual knowledge when knowledge did not actually exist,

and/or were made recklessly and without regard to the actual facts.

       270.    These representations and others, made by Defendants, wei•e made with the

intention of deceiving and defrauding Plaintiff, and were made in to induce Plaintiff to rely

upon misrepresentations and caused Plaintiff to purchase, use, rely on, request, dispense, and/or

recommend the Dual-Ended Combat ArmsT"' earplugs.

       271.    Defendants recklessly and intentionally falsely represented the dangerous and

serious health and/or safety concerns of the Dual-Ended Combat ArmsTM earplugs to the public

at large, Plaintiff in particular, for the purpose of influencing the marketing of a product known

to be dangerous and defective and/or not as safe as other alternatives.

       272.    Defendants willfully and intentionally failed to disclose the material facts

regarding the dangerous and serious safety concerns of Dual-Ended Combat ArmsT'" earplugs by

concealing and suppressing material facts regarding the dangerous and serious health and/or

safety concerns of Dual-Ended Combat ArmsT"' earplugs.

       273.    Defendants willfully and intentionally failed to disclose the truth, failed to disclose

material facts and made false representations with the purpose and design of deceiving and

lulling Plaintiff, into a sense of security so that Plaintiffwould rely on the representations made

by Defendants, and purchase, use and rely on the Dual-Ended Combat ArmsT"' earplugs.

       274.    Plaintiff did in fact rely on and believe the Defendants' representations to be true

at the time they were made and relied upon the representations and were thereby induced to use

and rely on the Dual-Ended Combat ArmsT"' earplugs.




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       275.    At the time the representations were made, Plaintiff did not know the truth

regarding the dangerous and serious safety concerns of the Dual-Ended Combat ArmsTM earplugs.

       276.    Plaintiff did not discover the true facts with respect to the dangerous and serious

health and/or safety concerns, and the false representations of Defendants, nor could Plaintiff with

reasonable diligence have discovered the true facts.

       277.    Had Plaintiff known the true facts with respect to the dangerous and serious health

and/or safety concerns of Dual-Ended Combat ArmsTM earplugs, Plaintiff would not have used

and/or relied on the Dual-Ended Combat ArmsTM earplugs.

       278.    Defendants' aforementioned conduct constitutes fraud and deceit, and was

committed and/or perpetrated willfully, wantonly, and/or purposefully on Plaintiff.

       279.    As a result ofthe foregoing acts and omissions Plaintiffrequires and/or may require

more health care and services and did incur medical, health, incidental and related expenses.

Plaintiff is informed and believes and further alleges that Plaintiff will in the future be required to

obtain further medical and/or hospital care, attention, and services. Accordingly, Plaintiffdemands

judgment against the Defendants for compensatoiy, treble and punitive damages, including costs

and attorney's fees, and all such other relief as the Court may deem proper.

                                     PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs request fi•om Defendants, jointly and severally, compensatory

damages, together with appropriate equitable relief, costs and attorneys' fees as follows:

   A. Award of monetary damages, including compensatory relief, to which Plaintiffs are

       entitled at the time of trial in an amount exceeding $50,000 each.

   B. Award of pre- and post judgment interest.

   C. Award of costs.




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  D. Award of all such otlier and further relief as may be available at law or equity and

      may be proper under the circumstances.

                                DEMAND FOR JURY TRIAL

  Plaintiffs demand a trial by jury on all issues so triable.

Dated: Ju1y 25, 2019                          JOHNSON BECKER, PLLC



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                                    ACKNOWLEDGMENT

       The undersigned hereby acknowledges that costs, disbursements, and reasonable

attorney's fees and witness fees may be awarded pursuant to Minn. Stat. § 549.211, Subd. 1, to

the parties against whom the allegations in this plead'uig are asserted.

 Dated: July 25, 2019                         JOHNSON BECKER, PLLC
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